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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                         MDL No. 1917
                                   8     IN RE: CATHODE RAY TUBE (CRT)                       Case No. 07-cv-05944-JST
                                         ANTITRUST LITIGATION
                                   9                                                         ORDER GRANTING IN PART AND
                                                                                             DENYING IN PART ADMINISTRATIVE
                                  10                                                         MOTION RE: REMAINING
                                         This order relates to:                              SETTLEMENT FUNDS
                                  11
                                         ALL INDIRECT PURCHASER ACTIONS                      Re: ECF No. 6504
                                  12
Northern District of California
 United States District Court




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                                  14          The Court grants in part and denies in part the administrative motion filed by Indirect

                                  15   Purchaser Plaintiffs (“IPPs”) for an order regarding remaining settlement funds. ECF No. 6484.

                                  16          The Court approves payment of the Settlement Administrator’s final invoice of $9,071.52.

                                  17          However, the Court denies IPPs’ request for permission to use residual funds to pay

                                  18   expenses incurred in ongoing litigation against Defendants Irico Group Corporation and Irico

                                  19   Display Devices Co., Ltd. To grant that request would be the functional equivalent of increasing

                                  20   the attorney’s fee award, and IPPs have not persuaded the Court that reconsideration of that award

                                  21   is appropriate, let alone that an increase is warranted. Instead, the parties shall meet and confer

                                  22   and nominate an appropriate cy pres recipient. This requires “that there be a driving nexus

                                  23   between the plaintiff class and the cy pres beneficiaries. A cy pres award must be guided by

                                  24   (1) the objectives of the underlying statute(s) and (2) the interests of the silent class members, and

                                  25   must not benefit a group too remote from the plaintiff class.” Dennis v. Kellogg Co., 697 F.3d

                                  26   858, 865 (9th Cir. 2012) (citation modified).

                                  27          The Court also denies IPPs’ request for an order releasing claims against Class Counsel

                                  28   and the Settlement Administrator. IPPs have presented no evidence that these releases were
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                                   1   included in the settlement agreements or that the class was provided notice that participating in the

                                   2   settlements would result in the release of such claims. Nor have IPPs presented any authority for

                                   3   ordering a release of claims that is broader than what was included in the settlement agreements or

                                   4   class notice.

                                   5          IT IS SO ORDERED.

                                   6   Dated: June 20, 2025
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                   8                                                           United States District Judge

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Northern District of California
 United States District Court




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